                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT

IN RE:
                                                      CASE NO. 12-32264-dof
CHRISTOPHER D. WYMAN,                                 CHAPTER 7
                                                      HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

       TRUSTEE’S SECOND RESPONSE TO APPLICATION FOR PAYMENT
   OF PRE-APPROVED ATTORNEY FEES OF SPECIAL COUNSEL TO TRUSTEE
                     PURSUANT TO 11 U.S.C. 328(a)

         NOW COMES Trustee, Samuel D. Sweet, (“Trustee”), by and through his counsel,
Samuel D. Sweet, PLC, and hereby states as follows:
         1.    The requested application is in the amount of $34,100.00.
         2.    Mr. Tindall has alleged to be handling the estate’s special counsel matters
pursuant to a retainer agreement in which he is provided a 1/3 contingency fee on all monies
recovered. As a result of this fee the total amount recovered would be $102,402.40.
         3.    Unfortunately the estate did not recover $102,402.40 it recovered $65,607.98.
The maximum fee that Mr. Tindall could claim in this case is $21,869.33.
         4.    Mr. Tindall has claimed that he is operating under a fee agreement with the
bankruptcy estate. Unfortunately I as Trustee do not have a copy of any fee agreement that was
signed between him and Mike Mason when he was originally retained. Further there has not
been one attached to any pleading in this case. Even the application for employment did not
reference any fee agreement nor identify that a fee agreement was ever executed.
         5.    Unfortunately this may be another example of Mr. Tindall not being forthcoming
with the Court.
         6.    Applicant’s fee application specifically provides that certain fees requestse in this
case are “preapproved”. Unfortunately the actual Order for Employment specifically provides
that they are subject to court approval and the court may allow an amount based upon facts not
known at the time or facts which accrued post application. As a result, this Court is allowed to
award any amount that seems appropriate based upon the work and results achieved by the
applicant.
         7.    The Applicant executed an Affidavit of Disinterestedness in this matter


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specifically providing that he did not have an interest adverse to the bankruptcy estate nor have
any conflict of interest with the bankruptcy estate and any assets related thereto. Unfortunately
it has become clear that Mr. Tindall did in fact have an interest adverse to the estate. Mr. Tindall
has claimed via the filing of a claim of interest relative to property of this estate that he in fact
possessed an interest adverse to this bankruptcy estate. Mr. Tindall has claimed a secured
interest in property of the estate and as such had an interest adverse to this estate long prior to his
application for fees in this case. Pursuant to In Re Gray, 64 BR505 (ED.Mich.Northern 1986),
the bankruptcy court for the Eastern District of Michigan has already determined that having a
secured claim on property of the bankruptcy estate constitutes an interest adverse to the
bankruptcy estate. As a result his Affidavit was false and misleading at the time it was executed
and continues to be to this day.
       8.      Pursuant to this Court’s own Order (Docket Entry 422, Case #12-03348) it was
determined that
Mr. Tindall engaged in a fraud on the Court relative to a discovery issue in the obtainment of a
judgment against Michelle Pichler. This action caused both the estate and Ms. Pichler to engage
in years of litigation that was unnecessary, unwarranted and costly to all parties.
       9.      Committing fraud on the Court is a serious matter and the Applicant should not be
rewarded for such action by being allowed fees in this case.
       10.     As a result of the foregoing the Trustee is requesting that this Honorable Court
deny all fees to Mr. Tindall at this time.
       WHEREFORE, Trustee requests that this Honorable Court deny the Application for
Payment of Pre-Approved Attorney Fees of Special Counsel and for such other and further relief
this Court deems just and proper.
                                                       Respectfully submitted,

                                                       SAMUEL D. SWEET, PLC

                                                       By: /s/ Samuel D. Sweet
                                                       Samuel D. Sweet (P48668)
                                                       Attorneys for Trustee
                                                       P.O. Box 757
                                                       Ortonville, MI 48462-0757
       Dated: 8/23/2019                                (248) 236-0985
                                                       ssweet@trusteesweet.us




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_________________________________/



                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the following:

       Trustee’s Second Response to Application for Payment of Pre-Approved Attorney
Fees of Special Counsel to Trustee Pursuant to 11 U.S.C. 328(a)

was electronically served on the 23rd day of August, 2019, upon:

         Dennis L. Perkins                          Elie Bejjani
         Attorney for Debtor                        Attorney for Barbara Duggan
         bkperk@sbcglobal.net                       elie@bejjanilaw.com
         (Via ECF Only)                             (Via ECF Only)

was served via First Class Mail, pre-paid postage, on this 23rd day of August, 2019, addressed as
follows:

         Christopher D. Wyman                       Michael E. Tindall
         6241 Grand River Road                      18530 Mack Ave., Ste. 430
         Brighton, MI 48114                         Detroit, Michigan 48236


                                              /s/ Jessica A. Will
                                             SAMUEL D. SWEET, PLC
                                             Jessica A. Will, Legal Assistant
                                             P.O. Box 757
                                             Ortonville, MI 48462-0757
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